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              13        Counsel for Plaintiff/Counter Defendant
                        EVOLVE TECHNOLOGIES, LLC
              14
                                              UNITED STATES DISTRICT COURT
              15
                                           SOUTHERN DISTRICT OF CALIFORNIA
              16
              17         Evolve Technologies, LLC, a Delaware Case No. 3:18-cv-00671-BEN-BGS
                         limited-liability company,
              18
                                          Plaintiff,
              19         v.
                                                                  PLAINTIFF/COUNTER-
              20         Coil Winding Specialist, Inc., a         DEFENDANT EVOLVE
                         California corporation,                  TECHNOLOGIES, LLC’S REPLY
              21                                                  TO DEFENDANT/COUNTER-
                                         Defendant.               CLAIMANT COIL WINDING
              22                                                  SPECIALISTS, INC.’S FIRST
                                                                  AMENDED COUNTERCLAIMS
              23         Coil Winding Specialist, Inc., a
                         California corporation,
              24
                                  Counter Claimant,
              25         v.
              26         Evolve Technologies, LLC, a Delaware
                         limited liability company,
              27
                                  Counter Defendant.
              28
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                    Case 3:18-cv-00671-BEN-BGS Document 41 Filed 04/10/19 PageID.552 Page 2 of 10



                    1
                              Plaintiff/Counter-Defendant      Evolve    Technologies,    LLC   (“Evolve”    or
                    2
                        “Plaintiff”), by and through undersigned counsel, hereby files this Reply to
                    3
                        Defendant/Counter Claimant Coil Winding Specialist, Inc.’s (“Defendant” or “CWS”)
                    4
                        First Amended Counterclaims as follows:
                    5
                                                        Jurisdiction and Venue
                    6
                              1.     Admitted.
                    7
                              2.     Admitted.
                    8
                              3.     Admitted to the extent that this Court has subject matter jurisdiction over
                    9
                        Defendant’s Counterclaims; otherwise, denied.
              10
                              4.     Admitted.
              11
                                            Declaratory Judgment of Non-Infringement
              12
                              5.     Paragraph 5 of Defendant’s First Amended Counterclaims contains no
              13
                        allegation of fact requiring a response; alternatively, denied.
              14
                              6.     Denied.
              15
                              7.     Denied.
              16
                              8.     Denied.
              17
                                             Declaratory Judgment of Patent Invalidity
              18
                              9.     Paragraph 9 of Defendant’s First Amended Counterclaims contains no
              19
                        allegation of fact requiring a response; alternatively, denied.
              20
                              10.    Denied.
              21
                              11.    Denied.
              22
                                               Infringement of U.S. Patent 10,006,552
              23
                              12.    Paragraph 12 of Defendant’s First Amended Counterclaims contains no
              24
                        allegation of fact requiring a response; alternatively, denied.
              25
                              13.    Defendant has voluntarily dismissed the Counterclaim of Infringement of
              26
                        U.S. Patent 10,006,552. Dkt. 23. Accordingly, no response to Paragraph 13 of
              27
                        Defendant’s First Amended Counterclaims is required; alternatively, denied.
              28
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                    1
                              14.   Defendant has voluntarily dismissed the Counterclaim of Infringement of
                    2
                        U.S. Patent 10,006,552. Dkt. 23. Accordingly, no response to Paragraph 14 of
                    3
                        Defendant’s First Amended Counterclaims is required; alternatively, denied.
                    4
                              15.   Defendant has voluntarily dismissed the Counterclaim of Infringement of
                    5
                        U.S. Patent 10,006,552. Dkt. 23. Accordingly, no response to Paragraph 15 of
                    6
                        Defendant’s First Amended Counterclaims is required; alternatively, denied.
                    7
                              16.   Defendant has voluntarily dismissed the Counterclaim of Infringement of
                    8
                        U.S. Patent 10,006,552. Dkt. 23. Accordingly, no response to Paragraph 16 of
                    9
                        Defendant’s First Amended Counterclaims is required; alternatively, denied.
              10
                              17.   Defendant has voluntarily dismissed the Counterclaim of Infringement of
              11
                        U.S. Patent 10,006,552. Dkt. 23. Accordingly, no response to Paragraph 17 of
              12
                        Defendant’s First Amended Counterclaims is required; alternatively, denied.
              13
                              18.   Defendant has voluntarily dismissed the Counterclaim of Infringement of
              14
                        U.S. Patent 10,006,552. Dkt. 23. Accordingly, no response to Paragraph 18 of
              15
                        Defendant’s First Amended Counterclaims is required; alternatively, denied.
              16
                              19.   Defendant has voluntarily dismissed the Counterclaim of Infringement of
              17
                        U.S. Patent 10,006,552. Dkt. 23. Accordingly, no response to Paragraph 19 of
              18
                        Defendant’s First Amended Counterclaims is required; alternatively, denied.
              19
                              20.   Defendant has voluntarily dismissed the Counterclaim of Infringement of
              20
                        U.S. Patent 10,006,552. Dkt. 23. Accordingly, no response to Paragraph 20 of
              21
                        Defendant’s First Amended Counterclaims is required; alternatively, denied.
              22
                              21.   Defendant has voluntarily dismissed the Counterclaim of Infringement of
              23
                        U.S. Patent 10,006,552. Dkt. 23. Accordingly, no response to Paragraph 21 of
              24
                        Defendant’s First Amended Counterclaims is required; alternatively, denied.
              25
                              22.   Defendant has voluntarily dismissed the Counterclaim of Infringement of
              26
                        U.S. Patent 10,006,552. Dkt. 23. Accordingly, no response to Paragraph 22 of
              27
                        Defendant’s First Amended Counterclaims is required; alternatively, denied.
              28
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                    1
                              23.    Defendant has voluntarily dismissed the Counterclaim of Infringement of
                    2
                        U.S. Patent 10,006,552. Dkt. 23. Accordingly, no response to Paragraph 23 of
                    3
                        Defendant’s First Amended Counterclaims is required; alternatively, denied.
                    4
                              24.    Defendant has voluntarily dismissed the Counterclaim of Infringement of
                    5
                        U.S. Patent 10,006,552. Dkt. 23. Accordingly, no response to Paragraph 24 of
                    6
                        Defendant’s First Amended Counterclaims is required; alternatively, denied.
                    7
                              25.    Defendant has voluntarily dismissed the Counterclaim of Infringement of
                    8
                        U.S. Patent 10,006,552. Dkt. 23. Accordingly, no response to Paragraph 25 of
                    9
                        Defendant’s First Amended Counterclaims is required; alternatively, denied.
              10
                              26.    Defendant has voluntarily dismissed the Counterclaim of Infringement of
              11
                        U.S. Patent 10,006,552. Dkt. 23. Accordingly, no response to Paragraph 26 of
              12
                        Defendant’s First Amended Counterclaims is required; alternatively, denied.
              13
                              27.    Defendant has voluntarily dismissed the Counterclaim of Infringement of
              14
                        U.S. Patent 10,006,552. Dkt. 23. Accordingly, no response to Paragraph 27 of
              15
                        Defendant’s First Amended Counterclaims is required; alternatively, denied.
              16
                              28.    Defendant has voluntarily dismissed the Counterclaim of Infringement of
              17
                        U.S. Patent 10,006,552. Dkt. 23. Accordingly, no response to Paragraph 28 of
              18
                        Defendant’s First Amended Counterclaims is required; alternatively, denied.
              19
                              29.    Defendant has voluntarily dismissed the Counterclaim of Infringement of
              20
                        U.S. Patent 10,006,552. Dkt. 23. Accordingly, no response to Paragraph 29 of
              21
                        Defendant’s First Amended Counterclaims is required; alternatively, denied.
              22
                              30.    Defendant has voluntarily dismissed the Counterclaim of Infringement of
              23
                        U.S. Patent 10,006,552. Dkt. 23. Accordingly, no response to Paragraph 30 of
              24
                        Defendant’s First Amended Counterclaims is required; alternatively, denied.
              25
                                        Intentional Interference with Contractual Relations
              26
                              31.    Paragraph 31 of Defendant’s First Amended Counterclaims contains no
              27
                        allegation of fact requiring a response; alternatively, denied.
              28
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                    Case 3:18-cv-00671-BEN-BGS Document 41 Filed 04/10/19 PageID.555 Page 5 of 10



                    1
                              32.     Denied.
                    2
                              33.     Plaintiff lacks knowledge or information sufficient to form a belief as to
                    3
                        the truth or falsity of the allegations of Paragraph 33 of Defendant’s First Amended
                    4
                        Counterclaims and on that basis denies said allegations. Furthermore, upon information
                    5
                        and belief, the purported entity “Eclipse Efficiencies” was not and is not an entity
                    6
                        separate from Defendant. Bob Sullivan’s email correspondence to Plaintiff utilized the
                    7
                        domain “coilws.com” further indicating that the purported entity “Eclipse Efficiencies”
                    8
                        and Defendant Coil Winding Specialist, Inc. were one and the same. Plaintiff denies
                    9
                        any remaining allegations contained within Paragraph 33 of Defendant’s First Amended
              10
                        Counterclaims.
              11
                              34.     Denied.
              12
                              35.     Denied.
              13
                              36.     Denied.
              14
                              37.     Plaintiff lacks knowledge or information sufficient to form a belief as to
              15
                        the truth or falsity of the allegations of Paragraph 37 of Defendant’s First Amended
              16
                        Counterclaims and on that basis denies said allegations.
              17
                              38.     Denied. Furthermore, the purpose of Plaintiff’s communication to Mr.
              18
                        Sullivan was to prevent further infringement of its patents.
              19
                              39.     Plaintiff lacks knowledge or information sufficient to form a belief as to
              20
                        the truth or falsity of the allegations of Paragraph 39 of Defendant’s First Amended
              21
                        Counterclaims and on that basis denies said allegations.
              22
                                    Intentional Interference with Prospective Economic Relations
              23
                              40.     Paragraph 40 of Defendant’s First Amended Counterclaims contains no
              24
                        allegation of fact requiring a response; alternatively, denied.
              25
                              41.     Plaintiff lacks knowledge or information sufficient to form a belief as to
              26
                        the truth or falsity of the allegations of Paragraph 41 of Defendant’s First Amended
              27
                        Counterclaims and on that basis denies said allegations. Plaintiff further specifically
              28
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                    1
                        refers and incorporates by reference here Paragraph 33 above.
                    2
                              42.    Plaintiff lacks knowledge or information sufficient to form a belief as to
                    3
                        the truth or falsity of the allegations of Paragraph 42 of Defendant’s First Amended
                    4
                        Counterclaims and on that basis denies said allegations.
                    5
                              43.    Denied.
                    6
                              44.    Denied.
                    7
                              45.    Plaintiff lacks knowledge or information sufficient to form a belief as to
                    8
                        the truth or falsity of the allegations of Paragraph 45 of Defendant’s First Amended
                    9
                        Counterclaims and on that basis denies said allegations.
              10
                              46.    Denied. Plaintiff further specifically refers and incorporates by reference
              11
                        here Paragraph 35 above.
              12
                              47.    Plaintiff lacks knowledge or information sufficient to form a belief as to
              13
                        the truth or falsity of the allegations of Paragraph 47 of Defendant’s First Amended
              14
                        Counterclaims and on that basis denies said allegations.
              15
                                                          Unfair Competition
              16
                              48.    Paragraph 48 of Defendant’s First Amended Counterclaims contains no
              17
                        allegation of fact requiring a response; alternatively, denied.
              18
                              49.    Denied. Plaintiff further specifically refers and incorporates by reference
              19
                        here Paragraphs 33 and 35 above.
              20
                              50.    Denied.
              21
                              51.    Denied.
              22
                                        DEFENSES AND/OR AFFIRMATIVE DEFENSES
              23
                              52.    The inclusion of any defense or pleading under this heading “Defenses
              24
                        and/or Affirmative Defenses” is not be construed as Plaintiff assuming any burden that
              25
                        is not otherwise on Plaintiff, but is identified herein to provide notice.
              26
                              53.    Defendant’s First Amended Counterclaims fail to state a claim upon which
              27
                        relief can be granted.
              28
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                    1
                              54.     Defendant’s Counterclaims of Intentional Interference with Contractual
                    2
                        Relations, Intentional Interference with Prospective Economic Relations, and Unfair
                    3
                        Competition are precluded by the First Amendment of the Constitution of the United
                    4
                        States.
                    5
                              55.     Defendant’s Counterclaims of Intentional Interference with Contractual
                    6
                        Relations, Intentional Interference with Prospective Economic Relations, and Unfair
                    7
                        Competition are precluded by Article I, Sections 2 and 3, of the Constitution of
                    8
                        California.
                    9
                              56.     Defendant’s Counterclaims of Intentional Interference with Contractual
              10
                        Relations, Intentional Interference with Prospective Economic Relations, and Unfair
              11
                        Competition are subject to California’s Anti-SLAPP (Strategic Lawsuit Against Public
              12
                        Participation) statute, California Code of Civil Procedure § 425.16.
              13
                              57.     Defendant’s Counterclaims of Intentional Interference with Contractual
              14
                        Relations, Intentional Interference with Prospective Economic Relations, and Unfair
              15
                        Competition are preempted by federal patent law.
              16
                              58.     Plaintiff affirmatively alleges that Plaintiff was not acting in bad faith
              17
                        when it contacted Mr. Sullivan. Plaintiff has a right to communicate its patent rights to
              18
                        any potential infringer as long as doing so is not in bad faith. See, e.g., Hunter Douglas,
              19
                        Inc. v. Harmonic Design, Inc., 153 F.3d 1318, 1336 (Fed. Cir. 1998) (“[F]ederal patent
              20
                        law bars the imposition of liability for publicizing a patent in the marketplace unless the
              21
                        plaintiff can show that the patentholder acted in bad faith.”); Virginia Panel Corp. v.
              22
                        MAC Panel Co., 133 F.3d 860, 869 (Fed. Cir. 1997) (“[A] patentee must be allowed to
              23
                        make its rights known to a potential infringer so that the latter can determine whether
              24
                        to cease its allegedly infringing activities, negotiate a license if one is offered, or decide
              25
                        to run the risk of liability and/or the imposition of an injunction.”). “Federal patent law
              26
                        likewise preempts state-law tort liability when a patentee in good faith communicates
              27
                        allegations of infringement of its patent. As a result, ‘bad faith must be alleged and
              28
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                    Case 3:18-cv-00671-BEN-BGS Document 41 Filed 04/10/19 PageID.558 Page 8 of 10



                    1
                        ultimately proven, even if bad faith is not otherwise an element of the tort claim.’”
                    2
                        Dominant Semiconductors Sdn. Bhd. V. OSRAM GMbH, 524 F.3d 1254, 1260 (Fed. Cir.
                    3
                        2008).
                    4
                                59.   Prior to this suit, the Hot-Start! product was offered for sale at least via
                    5
                        Amazon.com, which purported to list the Hot-Start! product for sale by the purported
                    6
                        entity “Eclipse Efficiencies.”
                    7
                                60.   Plaintiff obtained the Hot-Start! product via a purchase from Amazon.com.
                    8
                        Plaintiff analyzed this obtained Hot-Start! product for possible infringement.
                    9
                                61.   Upon preliminarily concluding that the sale of the Hot-Start! product
              10
                        infringed, Mr. Jeff Doss, Chief Executive Officer of Plaintiff, provided a claim chart
              11
                        and supporting documentation to Mr. Sullivan supporting Plaintiff’s allegation of
              12
                        infringement of claim 1 of U.S. Patent No. 7,878,417, which is at issue in this suit.
              13
                                62.   Mr. Sullivan did not engage in any substantive discussion or
              14
                        communication regarding the alleged infringement and did not provide any reasons to
              15
                        Plaintiff why there was no infringement or why the claim would allegedly be invalid.
              16
                                63.   Plaintiff’s actions in communicating with Mr. Sullivan and the purported
              17
                        entity “Eclipse Efficiencies” were objectively and subjectively not in bad faith.
              18
                        Moreover, Plaintiff’s actions in communicating with Mr. Sullivan and the purported
              19
                        entity “Eclipse Efficiencies” were objectively and subjectively in good faith.
              20
                                64.   To the extent that Defendant’s Counterclaims of Intentional Interference
              21
                        with Contractual Relations, Intentional Interference with Prospective Economic
              22
                        Relations, and Unfair Competition are premised on Plaintiff’s communications with Mr.
              23
                        Sullivan, such Counterclaims are preempted by federal patent law because Plaintiff was
              24
                        not acting in bad faith, but was acting in good faith, when Plaintiff communicated its
              25
                        rights to Mr. Sullivan.
              26
                        / / /
              27
                        / / /
              28
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                    Case 3:18-cv-00671-BEN-BGS Document 41 Filed 04/10/19 PageID.559 Page 9 of 10



                    1
                             RESPECTFULLY SUBMITTED this 10th day of April, 2019.
                    2
                    3
                                                          By: s/ James L. Williams
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                                                              - and -
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               Case 3:18-cv-00671-BEN-BGS Document 41 Filed 04/10/19 PageID.560 Page 10 of 10



                    1                              CERTIFICATE OF SERVICE
                    2
                               I hereby certify that on April 10, 2019, I caused the attached document to be
                    3   electronically transmitted, per the agreement of the parties, via e-mail rather than via
                    4   U.S. mail to:

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              13
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